4:05-cr-03099-RGK-DLP      Doc # 110    Filed: 10/03/06   Page 1 of 1 - Page ID # 529




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )           4:05CR3099-2
                                         )
             Plaintiff,                  )
                                         )           MEMORANDUM
vs.                                      )           AND ORDER
                                         )
MICHAEL C. ELMA,                         )
                                         )
             Defendant.                  )

       I have been advised by the United States Pretrial Services Office in Nebraska
that the United States Probation Office in Cleveland, Ohio reports that the defendant
has come to the Cleveland office of that agency. The defendant reports a dispute with
his wife and he also reports that he has removed an electronic monitoring unit.

      The United States Probation Office in Cleveland seeks an order directing the
defendant to surrender to the United States Marshals Service in Cleveland, Ohio to
begin serving his sentence. I agree that such a course of action is appropriate.
Therefore,

       IT IS ORDERED that the defendant shall immediately surrender to the United
States Marshals Office in Cleveland, Ohio to begin serving his prison sentence.

      October 3, 2006.                       BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
